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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WISCONSIN

ONE WISCONSIN INSTITUTE, INC.,
et al.,

             Plaintiffs,

      v.

ANN S. JACOBS, Chair, Wisconsin
Elections Commission, et al.,                     Case No. 3:15-cv-00324-JDP

             Defendants; and

THE WISCONSIN LEGISLATURE,

             Proposed Intervenor-
             Defendant.




           THE WISCONSIN LEGISLATURE’S OPPOSED MOTION TO
                             INTERVENE


      Under Rule 24 of the Federal Rules of Civil Procedures, the Joint Committee

on Legislative Organization, on behalf of the Wisconsin Legislature (“Legislature”)

hereby moves to intervene in this action as a defendant. The Legislature has

contemporaneously filed a supporting memorandum setting forth the grounds for this

Motion. For the reasons set forth in the supporting memorandum, the Legislature

respectfully requests that this Court grant its Motion to Intervene. Counsel for the

Wisconsin Legislature requested the parties’ positions on this motion. Plaintiffs

oppose this Motion. Defendants did not indicate their position before the filing of this

Motion.
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Dated this 29th day of July, 2020


                                    Respectfully submitted,
                                    /s/ Scott A. Keller
                                    Scott A. Keller
                                      Counsel of Record
                                    BAKER BOTTS LLP
                                    700 K Street, N.W.
                                    Washington, DC 20001
                                    (202) 639-7837
                                    (202) 585-1023 (fax)
                                    scott.keller@bakerbotts.com


                                    Eric M. McLeod (State Bar No. 1021730)
                                    Lane E. Ruhland (State Bar No. 1092930)
                                    HUSCH BLACKWELL LLP
                                    P.O. Box 1379
                                    33 East Main Street, Suite 300
                                    Madison, WI 53701-1379
                                    (608) 255-4440
                                    (608) 258-7138 (fax)
                                    eric.mcleod@huschblackwell.com
                                    lane.ruhland@huschblackwell.com


                                    Attorneys for the Proposed        Intervenor-
                                    Defendant Wisconsin Legislature




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